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 6                       IN THE UNITED STATES DISTRICT COURT
 7                                FOR THE DISTRICT OF ARIZONA
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 9     United States of America,                        No. CR-05-00125-001-TUC-DCB (BPV)
10                   Plaintiff,                         ORDER
11     v.
12     Leonardo Burgos-Valencia,
13                   Defendant.
14
15           On December 20, 2020, this Court denied a Motion for Compassionate Release from
16    the Defendant. The Court’s determination denying the motion has been vacated by
17    agreement of the parties and the matter remanded for this Court to reassess the Motion for
18    Compassionate Release under the standard set forth in United States v. Aruda, 993 F.3d
19    797, 802 (9th Cir. 2021) (“[T]he current version of U.S.S.G. § 1B1.13 is not an applicable
20    policy statement for 18 U.S.C. § 3582(c)(1)(A) motions filed by a defendant.” (internal
21    quotation marks and alteration omitted)). The Mandate issued on September 20, 2021.
22    (Doc. 1483.) Considering Aruda, the Court affirms its determination denying relief.
23           To be eligible for compassionate release, the Defendant must demonstrate: (1) the
24    existence of “extraordinary and compelling reasons,” 18 U.S.C. § 3582(c)(1)(A)(i), or the
25    defendant is at least 70 years of age, has served at least 30 years in prison, pursuant to a
26    sentence imposed under 3559(c), (imprisonment for certain violent felonies), “and a
27    determination has been made by the Director of the Bureau of Prison (BOP) that the
28    defendant is not a danger to the safety of any other person or the community, as provided
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 1    under section 3142(g),” (factors for determining pretrial release or detention), 18 U.S.C. §
 2    3582(c)(1)(A)(ii).
 3           “[A]s part of the First Step Act, of 2018, Congress amended § 3582(c)(1)(A) to []
 4    allow a defendant to seek a reduction directly from the court, provided that the defendant
 5    first seeks a reduction from the BOP and that request has either been denied or 30 days
 6    have passed.” Aruda, 993 F.3d at 802. The Court “may reduce the term of imprisonment
 7    (and may impose a term of probation or supervised release with or without conditions that
 8    does not exceed the unserved portion of the original term of imprisonment), after
 9    considering the factors set forth in section 3553(a) to the extent that they are applicable.”
10    18 U.S.C. § 3582(c)(1)(A).
11           Therefore, as it does in every sentencing decision it makes, the Court considers the
12    following sentencing factors: the nature and circumstances of the offense and criminal
13    history and characteristics of the defendant; the need to: punish the defendant and promote
14    respect for the law, deter criminal conduct and “protect the public from further crimes of
15    the defendant,” provide defendant with educational or vocational training, medical care,
16    etc.; the kinds of sentences available and established sentencing guidelines and ranges. 18
17    U.S.C. § 3553(a).
18           The Defendant bears the burden of proving he meets all elements of eligibility, both
19    substantive and procedural, for a sentence reduction. Id.; United States v. Hamilton, 715
20    F.3d 328, 337 (11th Cir. 2013) (“defendant, as the § 3582(c)(2) movant, bears the burden
21    of establishing” eligibility for sentencing reduction); United States v. Butler, 970 F.2d
22    1017, 1026 (2d Cir. 1992) (“A party with an affirmative goal and presumptive access to
23    proof on a given issue normally has the burden of proof as to that issue.”).
24           The Court previously held that “[t]he statute requires that any reduction be
25    ‘consistent with applicable policy statements issued by the Sentencing Commission
26    addressing the merits in the case, including the explicit definition in U.S.S.G. § 1B1.13 for
27    ‘extraordinary and compelling reasons’ that may make a defendant eligible for
28    compassionate release.” (Order (Doc. 1463) at 1-2.) Relevant in the Defendant’s case, this


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 1    Court considered the Sentencing Commissions definition in § 1B1.13 of “extraordinary
 2    and compelling reasons,” including: “(A) a ‘terminal illness’; (B) a serious medical
 3    condition ‘that substantially diminishes the ability of the defendant to provide self-care
 4    within the environment of a correctional facility and from which he or she is not expected
 5    to recover’; or (C) a defendant who is at least 65 years old, is experiencing a serious
 6    deterioration in physical or mental health because of the aging process, and ‘has served at
 7    least 10 years or 75 percent of his or her term of imprisonment, whichever is less.’ U.S.S.G.
 8    § 1B1.13, n.1 (other grounds omitted).” Id.
 9           This Court did not deny the Motion for Compassionate Release based on strict
10    application of these policy statements because this would limit relief, even for high-risk
11    inmates, to after or unless the inmate contracted COVID-19. “Instead, the Court applie[d]
12    the Sentencing Guidelines’ catch-all provision, and found it allowed the Court to find an
13    “extraordinary and compelling reason other than, or in combination with, the reasons
14    described in subdivisions (A) through (C).” U.S.S.G. § 1B1.13 Application note 1(D). at
15    3.” Id. at 3. The Court found that the Defendant’s medical conditions may make him high
16    risk for death in the event he does contract COVID-19, but the prison’s conditions of
17    confinement were addressing those risks of exposure. Id. at 4. Applying 18 U.S.C. §3553(a)
18    sentencing factors and sentencing policies depicted in 18 U.S.C. § 3582(c)(1)(A) and
19    U.S.S.G. § 1B1.13, in combination, the Court found no extraordinary or compelling
20    reasons to reduce the Defendant’s sentence or to order compassionate release. Id.
21           Importantly, the Court found that the Defendant’s release would pose a serious risk
22    of danger to the community. Id. at 3-4. The Court denied relief.
23           In Aruda, 993 F.3d 797, 802 (9th Cir. 2021), the Ninth Circuit Court of Appeals
24    explains that the policy statements in the current version of U.S.S.G. § 1B1.13 have not
25    been revisited since the First Step Act's amendment of § 3582(c)(1)(A), allowing
26    Defendants rather than the BOP Director to file motions for compassionate release. The
27    Ninth Circuit now clearly follows the five circuits that have unanimously held that U.S.S.G.
28    § 1B1.13 only applies to § 3582(c)(1)(A) motions filed by the BOP Director and does not


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 1    apply to § 3582(c)(1)(A) motions filed by a defendant. Id. at 801 (citing United States v.
 2    McGee, No. 20-5047, 992 F.3d 1035, 1050–51 (10th Cir. Mar. 29, 2021); United States v.
 3    McCoy, 981 F.3d 271, 281–84 (4th Cir. 2020); United States v. Gunn, 980 F.3d 1178, 1180
 4    (7th Cir. 2020); United States v. Jones, 980 F.3d 1098, 1109 (6th Cir. 2020); United States
 5    v. Brooker, 976 F.3d 228, 234–37 (2d Cir. 2020). Accordingly, “[t]here is as of now no
 6    ‘applicable’ policy statement governing compassionate-release motions filed by
 7    defendants under the recently amended § 3582(c)(1)(A), and as a result, district courts are
 8    ‘empowered ... to consider any extraordinary and compelling reason for release that a
 9    defendant might raise.’” Id. (citing McCoy, 981 F.3d at 284 (quoting Brooker, 976 F.3d at
10    230)).
11             This Court understands that in the Ninth Circuit “the current version of U.S.S.G. §
12    1B1.13 is not an “applicable policy statement[ ]” for 18 U.S.C. § 3582(c)(1)(A) motions
13    filed by a defendant.” Id. at 802. “The Sentencing Commission's statements in U.S.S.G. §
14    1B1.13 may inform a district court's discretion for § 3582(c)(1)(A) motions filed by a
15    defendant, but they are not binding.” Id. (citing See Gunn, 980 F.3d at 1180).
16             On remand, this Court being so informed has considered, as it did previously
17    singularly and in combination, all of the reasons for release raised by the Defendant and
18    affirms its prior determination that Defendant fails to present any extraordinary and
19    compelling reason for release, and his release would pose a serious risk to the community.
20    The Court affirms its prior determination that the Defendant is not entitled to relief under
21    18 U.S.C. § 3582(c)(1).
22             Subsequent to the remand, the Defendant argues that this Court’s denial based on
23    its finding that his release would pose a risk to the community is contrary to the Court’s
24    determination at the original sentencing to not enhance his sentence based on use of a
25    firearm because it was not foreseeable that one of the codefendants would use a firearm in
26    furtherance of a marijuana conspiracy. Defendant argues that absent evidence he used
27    violence or violence was foreseeable, the Court should not deny compassionate release
28    based on this factor.


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 1           To be clear, this is not the sole basis for the denial. The Court found that being
 2    identified a high risk for complications, including death, if exposed to COVID-19 is not an
 3    automatic “extraordinary and compelling reason” for compassionate release, even when
 4    housed in a facility with known COVID cases, especially because BOP has imposed
 5    policies and practices to contain the spread of COVID-19 in prison facilities. The
 6    Defendant’s ability to provide self-care within the environment of a correctional facility
 7    has improved since the Court first denied compassionate release because the COVID
 8    vaccination is now available.
 9           The Court affirms its denial of compassionate release because his risk factors for
10    serious health consequences are not extraordinary and compelling and because his criminal
11    history and characteristics, including those related to the instant offense, reflect
12    participation in a large-scale drug conspiracy, involving not just marijuana, over an
13    extended period of time. This type of narcotic trafficking poses a danger to the community
14    and his continued confinement is needed to punish the defendant, “protect the public from
15    further crimes of the defendant,” promote respect for the law, and deter such criminal
16    conduct.
17           Accordingly,
18           IT IS ORDERED affirming the prior Order (Doc. 1463) and denial of the Motion
19    for Compassionate Release (Doc. 1449).
20           Dated this 22nd day of October, 2021
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